 1   JEFFREY BOSSERT CLARK
     Acting Assistant Attorney General
 2   NICOLA T. HANNA
     United States Attorney
 3   DAVID K. BARRETT, AUSA
     Chief, Civil Fraud Section
 4   LISA A. PALOMBO, AUSA
     ROSS M. CUFF, AUSA (SBN 275093)
 5         Room 7516, Federal Building
           300 N. Los Angeles Street
 6         Los Angeles, California 90012
           Tel: (213) 894-7388 | Fax: (213) 894-7819
 7         Email: Ross.Cuff@usdoj.gov
     JAMIE ANN YAVELBERG
 8   SARA MCLEAN
     WILLIAM C. EDGAR
 9   ERIC SCHMELZER
     Attorneys, Civil Division
10   United States Department of Justice
           175 N Street NE, Room 9.121
11         Washington, DC 20002
           Tel: (202) 307-0256 | Fax: (202) 307-3852
12         Email: Eric.Schmelzer@usdoj.gov
     Attorneys for Plaintiff United States of America
13
     Additional counsel listed following caption
14
                               UNITED STATES DISTRICT COURT
15
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
                                     WESTERN DIVISION
17
     UNITED STATES OF AMERICA ex rel.              No. 2:11cv-00974-PSG-JC
18   MEI LING and FAIR HOUSING
     COUNCIL OF SAN FERNANDO                       STIPULATED PROTECTIVE ORDER
19   VALLEY,
20               Plaintiffs,                       [CHANGE MADE TO ¶ 6.1]
21                      v.                         Hon. Jacqueline Chooljian
22   CITY OF LOS ANGELES, a municipal
     corporation, and CRA/LA, a Designated
23   Local Authority, a public entity,
24               Defendants.
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                               STIPULATED PROTECTIVE ORDER
 1   Donald R. Warren (CA 138933)
     Phillip E. Benson (CA 97420)
 2
     Warren - Benson Law Group
 3   7825 Fay Ave., Ste. 200
     La Jolla, CA 92037
 4
     Tel: 858-454-2877
 5   Fax: 858-454-5878
     donwarren@warrenbensonlaw.com
 6
     philbenson@warrenbensonlaw.com
 7   David O. Iyalomhe
 8   David Iyalomhe and Associates
     880 West First Street Suite 313
 9
     Los Angeles, CA 90012
10   213-626-4100
     Fax: 213-626-6900
11
     Email: david@doialaw.com
12   Odion L. Okojie
13   Law Offices of Odion L Okojie
     880 West First Street Suite 313
14   Los Angeles, CA 90012
15   213-626-4100
     Fax: 213-626-6900
16   Email: okojielaw@aol.com
17   Attorneys for Qui Tam Plaintiff Fair Housing Council of San Fernando Valley
18
     Michael N. Feuer (Bar No. 111529)
19   City Attorney
20   Noreen Vincent
     Office of Los Angeles City Attorney
21   City Hall East, 200 N. Main Street
22   Los Angeles, California 90012-4130
     Telephone: (213) 978-8100
23   Facsimile: (213) 978-8312
24   mike.feuer@lacity.org
25   HOGAN LOVELLS US LLP
26   Michael M. Maddigan (Bar No. 163450)
     Ann C. Kim (Bar No. 212438)
27   Poopak Nourafchan (Bar No. 193379)
28   David W. Skaar (Bar No. 265377)
                                          1
                             STIPULATED PROTECTIVE ORDER
 1   Alyssa Saviss (Bar No. 318387)
     1999 Avenue of the Stars, Suite 1400
 2
     Los Angeles, California 90067
 3   Telephone: (310) 785-4600
     Facsimile: (310) 785-4601
 4
     michael.maddigan@hoganlovells.com
 5   poopak.nourafchan@hoganlovells.com
     david.skaar@hoganlovells.com
 6
     Attorneys for Defendant City of Los Angeles
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                            STIPULATED PROTECTIVE ORDER
 1            In accordance with the stipulation of Plaintiff the United States of America,
 2   Relator the Fair Housing Council of San Fernando Valley, and Defendant the City of Los
 3   Angeles, and their respective attorneys of record, the Magistrate Judge enters the parties’
 4   stipulated Protective Order as follows. This Protective Order applies to Relator Mei Ling
 5   and any counsel who may appear in this matter on her behalf, although, pursuant to the
 6   Court’s Order of June 22, 2020 (Dkt. 352), her ability to participate in this matter is
 7   limited. Nothing about this stipulation or order changes those prior limitations set by the
 8   Court.
 9   1.       PURPOSES AND LIMITATIONS AND GOOD CAUSE STATEMENT
10   1.1.     Purpose and Limitations.
11            Disclosure and discovery in this action are likely to involve production of
12   confidential, proprietary, or private information for which special protection from public
13   disclosure and from use for any purpose other than prosecuting this litigation may be
14   warranted. To ensure confidentiality, the parties have submitted, and have petitioned the
15   Magistrate Judge to enter, the Stipulated Protective Order governing confidential
16   material. This Protective Order does not confer blanket protections on all disclosures or
17   responses to discovery. The protection it affords from public disclosure and use extends
18   only to the limited information or items that are entitled to confidential treatment under
19   the applicable legal principles. Further, as set forth in Section 12.3, below, this
20   Protective Order does not entitle the parties to file confidential information under seal.
21   Rather, when the parties seek permission from the Court to file material under seal, the
22   parties must comply with Civil Local Rule 79-5 and with any pertinent orders of the
23   assigned District Judge and Magistrate Judge.
24   1.2.     Good Cause Statement:
25            In light of the nature of the claims and allegations in this case and the parties’
26   representations that discovery in this case will involve the production of confidential
27   records, and to expedite the flow of information, to facilitate the prompt resolution of
28   disputes over confidentiality of discovery materials, to adequately protect information
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                              STIPULATED PROTECTIVE ORDER
 1   the parties are entitled to keep confidential, to ensure the parties are permitted reasonable
 2   and necessary uses of such material in connection with this action, to address their
 3   handling of such material at the end of the litigation, and to serve the ends of justice, a
 4   protective order for such information is justified in this matter. The parties shall not
 5   designate any information/documents as confidential without a good faith belief that
 6   such information/documents have been maintained in a confidential, non-public manner,
 7   and that there is good cause or a compelling reason why it should not be part of the
 8   public record of this case.
 9   2.    DEFINITIONS
10   2.1   Action:
11         The instant action: United States ex rel. Ling, et al. v. City of Los Angeles, et al.,
12   No. 2:11-cv-00974-PSG-JCx.
13   2.2   Challenging Party:
14         A Party or Non-Party that challenges the designation of information or items
15   under this Protective Order.
16   2.3   “CONFIDENTIAL” Information or Items:
17         “CONFIDENTIAL” Information or Items means information or items (regardless
18   of how generated, stored, or maintained) or tangible things that a Designating Party
19   believes in good faith is confidential under applicable federal law. Confidential
20   information or items generally include materials used by a Designating Party which are
21   not generally subject to public disclosure and which the Designating Party would not
22   normally reveal to third parties or would cause third parties to maintain in confidence.
23   Examples of information that may be designated as “CONFIDENTIAL” include
24   information that is not in the public domain and contains employment information,
25   personally identifiable information, personal health information, or any other
26   information that may reasonably be characterized by a party as confidential or
27   proprietary information
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                               STIPULATED PROTECTIVE ORDER
 1   2.4    Counsel:
 2          Outside Counsel of Record and In-House Counsel (as well as their support staff
 3   including contractors).
 4   2.5    Designating Party:
 5          A Party or Non-Party that designates information or items it produces in
 6   disclosures or in responses to discovery as “CONFIDENTIAL.
 7          2.6    Disclosure or Discovery Material:
 8          All items or information, regardless of the medium or manner in which it is
 9   generated, stored, or maintained (including, among other things, testimony, transcripts,
10   and tangible things), that are voluntarily exchanged, made available, or produced by any
11   Party or Non-Party in disclosures or responses to discovery, including subpoenas to non-
12   parties, in this matter.
13          2.7    Document:
14          When used in this Protective Order, the term “document” means all writings,
15   drawings, graphs, charts, blueprints, recordings, computer disks and tapes, electronically
16   stored information, audiotapes, video tapes, and other documents as defined in Rule 34
17   of the Federal Rules of Civil Procedure.
18          2.8    Expert:
19          A person with specialized knowledge or experience in a matter pertinent to the
20   litigation retained by a Party or its counsel to serve as an expert witness or as a
21   consultant in this Action and who has agreed to be bound to this order as discussed
22   below.
23          2.9    In-House Counsel:
24          Attorneys who are employees of a party to this Action. In-House Counsel does not
25   include Department of Justice attorneys (or Departmental support staff including
26   contractors) even though they are employed by the United States, Outside Counsel of
27   Record, or any other outside counsel.
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                                STIPULATED PROTECTIVE ORDER
 1         2.10 Non-Party:
 2         Any natural person, partnership, corporation, association, or other legal entity not
 3   named as a Party to this action.
 4         2.11 Outside Counsel of Record:
 5         Attorneys who are not employees of a party to this Action but are retained to
 6   represent or advise a party to this Action, or in the case of the United States are
 7   employed by the Department of Justice, and have appeared in this Action on behalf of
 8   that party or the Department of Justice, or are affiliated with a law firm which has
 9   appeared on behalf of that party or the Department of Justice, and includes support staff
10   (including contractors).
11         2.12 Party:
12         Any party to this Action, including all of elected officials, offices, departments,
13   commissions, boards, officers, directors, agents, employees, representatives, independent
14   contractors, advisors, consultants, affiliates, subsidiaries, predecessors in interests,
15   successors in interest, and agencies,, retained experts, and In-House Counsel, and
16   Outside Counsel of Record (and their support staffs including contractors).
17         2.13 Producing Party:
18         A Party or Non-Party that produces Disclosure or Discovery Material in this
19   Action.
20         2.14 Professional Vendors:
21         Persons or entities that provide litigation support services (e.g., photocopying,
22   videotaping, translating, preparing exhibits or demonstrations, and organizing, storing, or
23   retrieving data in any form or medium) and their employees and subcontractors.
24         2.15 Protected Material:
25         Any Disclosure or Discovery Material that is designated as “CONFIDENTIAL”.
26         2.16 Receiving Party:
27         A Party that receives Disclosure or Discovery Material from a Producing Party.
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                                STIPULATED PROTECTIVE ORDER
 1   3.     SCOPE
 2          The protections conferred by this Protective Order cover not only Protected
 3   Material (as defined above), but also (1) any information copied or extracted from
 4   Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
 5   Material; and (3) any deposition testimony, conversations, or presentations by Parties or
 6   their Counsel that might reveal Protected Material, other than during a public court
 7   hearing or at trial.
 8          3.1    Exclusions:
 9          Confidential Information shall not include any information that is properly in the
10   public domain at the time of disclosure or thereafter comes into the public domain (other
11   than by breach of this Protective Order or any other confidentiality agreement or
12   obligation)
13          3.2    Allegations in Pleadings:
14          Allegations in pleadings made prior to the entry of this Protective Order do not
15   waive any party’s ability to designate a Document, Disclosure, or Discovery Material as
16   Protected Material.
17          3.3    Use of Protected Materials During Hearings or at Trial:
18          Any use of Protected Material during a court hearing or at trial shall be governed
19   by the orders of the presiding judge. This Protective Order does not govern the use of
20   Protected Material during a court hearing or at trial.
21   4.     DURATION
22          Even after the termination of this litigation, whether by settlement,
23   discontinuance, dismissal, severance, final judgment or other final disposition, the
24   confidentiality obligations imposed by this Protective Order shall remain in effect until a
25   Designating Party agrees otherwise in writing or a Court order otherwise directs. Final
26   disposition shall be deemed to be the later of (1) dismissal of all claims and defenses in
27   this Action, with or without prejudice; and (2) final judgment herein after the completion
28   and exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
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                              STIPULATED PROTECTIVE ORDER
 1   including the time limits for filing any motions or applications for extension of time
 2   under applicable law.
 3   5.    DESIGNATING PROTECTED MATERIAL
 4   5.1   Exercise of Restraint and Care in Designating Material for Protection:
 5         Each Party or Non-Party that designates information or items for protection under
 6   this Protective Order must take care to limit any such designation to specific material
 7   that qualifies under the appropriate standards. The Designating Party must designate for
 8   protection only those parts of material, documents, items, or oral or written
 9   communications that qualify so that other portions of the material, documents, items, or
10   communications for which protection is not warranted are not swept unjustifiably within
11   the ambit of this Protective Order.
12   5.2   Inappropriate Designation:
13         Mass, indiscriminate, or routinized designations are prohibited. Designations that
14   are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
15   to unnecessarily encumber the case development process or to impose unnecessary
16   expenses and burdens on other parties) may expose the Designating Party to sanctions.
17   5.3   Withdrawal of Designations:
18         If it comes to a Designating Party’s attention that information or items that it
19   designated for protection do not qualify for protection that Designating Party must
20   promptly notify all other Parties that it is withdrawing the inapplicable designation.
21   5.4   Manner and Timing of Designations:
22         Except as otherwise provided in this Protective Order (see, e.g., second paragraph
23   of Section 5.5(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery
24   Material that qualifies for protection under this Protective Order must be clearly so
25   designated when the material is disclosed or produced.
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                              STIPULATED PROTECTIVE ORDER
 1   5.5   Method of Designation:
 2         Designation in conformity with this Protective Order requires:
 3                (a) for information in documentary form (e.g., paper or electronic
 4   documents including written responses to interrogatories and requests for production or
 5   admission, and exhibits used in any deposition, but excluding transcripts of depositions),
 6   that the Producing Party affix, at a minimum, the legend “CONFIDENTIAL”
 7   (hereinafter “CONFIDENTIAL legend”), to each page that contains protected material.
 8   If only a portion or portions of the material on a page qualifies for protection, the
 9   Producing Party also must clearly identify the protected portion(s) (e.g., where practical,
10   by affixing the legend “CONFIDENTIAL” on each page that contains Protected
11   Material).
12                A Party or Non-Party that makes original documents available for
13   inspection need not designate them for protection until after the inspecting Party has
14   indicated which documents it would like copied and produced. During the inspection and
15   before the designation, all of the material made available for inspection shall be deemed
16   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
17   copied and produced, the Producing Party must determine which documents, or portions
18   thereof, qualify for protection under this Protective Order. Then, before producing the
19   specified documents, the Producing Party must affix the “CONFIDENTIAL legend” to
20   each page that contains Protected Material. If only a portion or portions of the material
21   on a page qualifies for protection, the Producing Party also must clearly identify the
22   protected portion(s) (e.g., by affixing the “CONFIDENTIAL” legend on each page that
23   contains protected material). If only a portion of a document or portions of the material
24   on a page qualifies for protection, the Designating Party must clearly identify the
25   protected portions.
26                (b) for testimony given in deposition: Testimony at a deposition may be
27   designated by any Party as “CONFIDENTIAL” by indicating on the record at the
28   deposition that the testimony is confidential and subject to the provisions of this
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                               STIPULATED PROTECTIVE ORDER
 1   Stipulated Protective Order and the reasons for the assertion. Additionally, all transcripts
 2   and all deposition videotapes or audio recordings of depositions will automatically be
 3   designated “CONFIDENTIAL” from the day of the deposition or proceeding until forty-
 4   five (45) calendar days after receipt of the final original transcript or of the deposition
 5   videotape or audio recording by the witness or the witness’s attorney. During this period
 6   of automatic designation, the Designating Party may provide written designations of
 7   those portions of the testimony or deposition recording that qualify for protection under
 8   this Stipulated Protective Order. If such written designations are submitted, then the final
 9   transcript will be revised to reflect those designations, and those portions of the
10   transcript or deposition recording will be subject to the terms of the Protective Order and
11   may only be accessed and reviewed in accordance with the terms contained in the
12   Protective Order. After the expiration of this period of automatic designation, unless an
13   extension is agreed to in writing between the United States and Defendant, if no written
14   designations are submitted by the Designating Party, then the entire transcript will be
15   deemed non-confidential, and the transcript will be revised to remove all confidentiality
16   designations until such time as a party later designates in writing that the transcript or
17   any portion of the transcript shall be treated as confidential.
18                (c) For information produced in some form other than documentary, and for
19   any other tangible items: the Producing Party must affix the legend “CONFIDENTIAL”
20   in a prominent place on the exterior of the container or containers in which the
21   information or item is stored or in some other reasonable fashion depending on the form
22   of the material. If that material is stored or recorded electronically (including information
23   databases, images, or programs stored on computers, discs, networks or backup tapes)
24   and a legend cannot be affixed upon it, the Designating Party may designate such
25   material as “CONFIDENTIAL” by cover letter identifying the Protected Material. The
26   parties, if not the Producing Party, shall also have the right to designate such materials
27   for confidential treatment in accordance with this Stipulated Protective Order by written
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                               STIPULATED PROTECTIVE ORDER
 1   notice. If only portions of the information or item warrant protection, the Designating
 2   Party, to the extent practicable, shall designate the protected portions only.
 3                5.6    Inadvertent Failures to Designate.
 4         If timely corrected, an inadvertent failure to designate qualified information or
 5   items does not, standing alone, waive the Designating Party’s right to secure protection
 6   under this Protective Order for such material. Upon timely correction of a designation,
 7   the Receiving Party must make reasonable efforts to assure that the material is treated in
 8   accordance with the provisions of this Protective Order
 9   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
10   6.1   Timing of Challenges:
11         Any Party may object to a Designating Party’s confidential designation at any
12   time not inconsistent with the District Judge’s Scheduling/Case Management Orders by
13   giving written notice (including by email) to counsel for the Designating Party,
14   identifying the Disclosure or Discovery Material, or portions thereof, to which the
15   objection is directed, by Bates number (if applicable) or by identifying information as
16   necessary to locate the document within the materials produced, and specifying in
17   reasonable detail the reason or reasons for the objection. Within fifteen (15) court days
18   of the receipt of such written notice, the parties shall meet and confer in a good faith
19   effort to resolve the dispute as required by the Court’s Scheduling Order. In conferring
20   pursuant to the Court’s Local Rules and/or Scheduling Order, the Designating Party
21   must explain the basis for its belief that the confidentiality designation was proper. If the
22   disagreement cannot be resolved, the Challenging Party may submit their objection to
23   the Court or Magistrate Judge within fifteen (15) court days of the meet-and-confer. The
24   Designating Party will have the burden of establishing the information is appropriately
25   designated. The application for a protective order shall comply with the Court’s Local
26   Rules, and the Designating Party shall have the opportunity to respond to such
27   application. While any such application is pending, the materials subject to the
28   application will be treated as “CONFIDENTIAL” until the Court or Magistrate Judge
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                               STIPULATED PROTECTIVE ORDER
 1   otherwise rules. If the party challenging the Confidential Information designation does
 2   not submit their objection within fifteen (15) court days of the meet-and-confer, then the
 3   designation of the Disclosure or Discovery Material as “CONFIDENTIAL” will remain
 4   effective.
 5         If the Court or Magistrate Judge rules that the Disclosure or Discovery Material
 6   should no longer be designated as “CONFIDENTIAL” or if the Designating Party at any
 7   time withdraws the designation (or if the Designating Party fails to apply for a protective
 8   order pursuant to the preceding Paragraph), the Designating Party shall promptly provide
 9   all other parties in the litigation with replacement documents, files, or information free
10   from any markings or designations as “CONFIDENTIAL.” The replacement versions
11   shall be provided in the same format as the information that is to be replaced, unless
12   otherwise agreed to by the parties.
13   6.2   Meet and Confer:
14         The Challenging Party shall initiate the dispute resolution process under Local
15   Rule 37-1 et seq.
16   6.3   Burden of Persuasion:
17         The burden of persuasion in any such challenge proceeding shall be on the
18   Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.,
19   to harass or impose unnecessary expenses and burdens on other parties) may expose the
20   Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn
21   the confidentiality designation, all parties shall continue to afford the material in
22   question the level of protection to which it is entitled under the Producing Party’s
23   designation until the Court rules on the challenge.
24   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
25   7.1   Basic Principles:
26         A Receiving Party may use Protected Material that is disclosed or produced by
27   another Party or by a Non-Party in connection with this Action only for prosecuting,
28   defending, or attempting to settle this Action. Such Protected Material may be disclosed
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                             STIPULATED PROTECTIVE ORDER
 1   only to the categories of persons and under the conditions described in this Protective
 2   Order. When the Action has been terminated, a Receiving Party must comply with the
 3   provisions of Section 13 below.
 4         Protected Material must be stored and maintained by a Receiving Party at a
 5   location and in a secure manner that ensures that access is limited to the persons
 6   authorized under this Protective Order.
 7   7.2   Disclosure of “CONFIDENTIAL” Information or Items:
 8         Unless otherwise ordered by the Court or permitted in writing by the Designating
 9   Party, a Receiving Party may disclose any information or item designated
10   “CONFIDENTIAL” only to:
11                (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
12   as employees, agents, and support staff (including contractors) of said Outside Counsel
13   of Record to whom it is reasonably necessary to disclose the information for this Action;
14                (b) the officials, officers, directors, employees (including In-House
15   Counsel), agents, and staff (including contractors) of the Receiving Party to whom
16   disclosure is reasonably necessary for this Action;
17                (c) Experts (as defined in this Protective Order) of the Receiving Party to
18   whom disclosure is reasonably necessary for this Action and who have signed the
19   “Acknowledgment and Agreement to Be Bound” (Attachment A);
20                (d) the Court or a court with appellate jurisdiction and their personnel;
21                (e) court reporters and their staff;
22                (f) professional jury or trial consultants, mock jurors, and Professional
23   Vendors to whom disclosure is reasonably necessary for this Action and who have
24   signed the “Acknowledgment and Agreement to Be Bound” (Attachment A);
25                (g) the author or recipient of a document containing the information or a
26   custodian or other person who otherwise possessed or knew the information;
27                (h) during their depositions or in connection with witness interviews,
28   witnesses, and attorneys for witnesses, in the Action to whom disclosure is reasonably
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                              STIPULATED PROTECTIVE ORDER
 1   necessary provided: (1) the party disclosing the material to the witness requests that the
 2   witness sign the “Acknowledgment and Agreement to Be Bound” form attached as
 3   Attachment A hereto; and (2) they will not be permitted to keep any confidential
 4   information unless they sign the “Acknowledgment and Agreement to Be Bound”
 5   (Attachment A), unless otherwise agreed by the Designating Party or ordered by the
 6   Court. Pages of transcribed deposition testimony or exhibits to depositions that reveal
 7   Protected Material shall be separately bound by the court reporter and shall not be
 8   disclosed to anyone except as permitted under this Protective Order. If the witness
 9   refuses to sign the “Acknowledgment to Be Bound,” they may nonetheless be shown the
10   document and examined on its contents but will not receive a copy of the document with
11   any materials sent to them for review, nor will the pages including the examination on
12   the document be sent to them for review;
13                (i) any mediator or settlement officer, and their supporting personnel,
14   mutually agreed upon by any of the parties engaged in settlement discussions;
15                (j) those individuals and entities to whom disclosure is required by court
16   order as discussed in Section 8 below, or as otherwise required by law;
17                (k) Agencies or Departments of the governments of the City of Los Angeles
18   and the United States, the Congress of the United States and centralized record units as
19   described in paragraph 7.3 below; or
20                (l) any other person mutually agreed upon the by Designating and
21   Receiving Parties in writing or person designated by the Court or Magistrate Judge in the
22   interest of justice upon such terms that the Court or Magistrate Judge may deem just and
23   proper who have signed the “Acknowledgment and Agreement to Be Bound”
24   (Attachment A).
25   7.3   Disclosure of “CONFIDENTIAL” Information to Federal Agencies and
26         Departments:
27         Nothing contained in this Protective Order shall prevent or in any way limit or
28   impair the right of the United States to disclose to any agency or department of the
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                              STIPULATED PROTECTIVE ORDER
 1   United States, or any division of any such agency or department, confidential
 2   information relating to any potential violation of law or regulation, or relating to any
 3   matter within that agency's jurisdiction, nor shall anything contained in this Protective
 4   Order prevent or in any way limit or impair the use of any such confidential information
 5   by an agency in any proceeding relating to any potential violation of law or regulation,
 6   or relating to any matter within that agency's jurisdiction; provided, however, that the
 7   agency shall maintain the confidentiality of any confidential information consistent with
 8   the terms of this Protective Order.
 9         Further, nothing contained in this Protective Order shall prevent or in any way
10   limit or impair the right of the United States to provide any document or information to
11   the Congress pursuant to a Congressional request; provided, however, that the United
12   States shall notify the Congressional entity requesting the documents that the
13   confidential information has been produced pursuant to this Protective Order and shall, if
14   there are no objections interposed by the Congressional entity requesting the documents,
15   use reasonable efforts to notify the Designating Party of the Congressional entity's
16   request and the United States' response thereto.
17         Further, nothing contained in this Protective Order shall prevent or in any way
18   limit or impair the right of the United States to maintain Confidential Information in a
19   centralized records unit or to maintain archival materials in the United States Archives as
20   discussed in Section 13 below. Any such records that contain or constitute Protected
21   Material shall, however, remain subject to this Protective Order as set forth in Section 4.
22   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
23         IN OTHER LITIGATION
24         If the Outside Counsel becomes aware of a subpoena or a court order served on a
25   Receiving Party and issued in other litigation that compels disclosure of any information
26   or items designated in this Action as “CONFIDENTIAL” that Party must:
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                              STIPULATED PROTECTIVE ORDER
 1                (a) promptly and in no event more than ten (10) court days after becoming
 2   aware of the subpoena or order, notify in writing the Designating Party. Such notification
 3   shall include a copy of the subpoena or court order unless prohibited by law;
 4                (b) promptly notify in writing the individual or entity who caused the
 5   subpoena or order to issue in the other litigation that some or all of the material covered
 6   by the subpoena or order is subject to this Protective Order. Such notification shall
 7   include a copy of this Protective Order; and
 8                (c) cooperate with respect to all reasonable procedures sought to be pursued
 9   by the Designating Party whose Protected Material may be affected.
10         If the Designating Party timely seeks a protective order, the Party served with the
11   subpoena or court order shall not produce any information designated in this action as
12   “CONFIDENTIAL” before a determination by the court from which the subpoena or
13   order issued, unless the Party has obtained the Designating Party’s permission, or unless
14   otherwise required by the law or court order. The Designating Party shall bear the burden
15   and expense of seeking protection in that court of its confidential material and nothing in
16   these provisions should be construed as authorizing or encouraging a Receiving Party in
17   this Action to disobey a lawful directive from another court.
18   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
19         PRODUCED IN THIS LITIGATION
20               (a) The terms of this Protective Order are applicable to information produced
21   by a Non-Party in this Action that is designated as “CONFIDENTIAL”. Such
22   information produced by Non-Parties in connection with this litigation is protected by
23   the remedies and relief provided by this Protective Order. Nothing in these provisions
24   should be construed as prohibiting a Non-Party from seeking additional protections.
25               (b) In the event that a Party is required, by a valid discovery request, to
26   produce a Non-Party’s confidential information in its possession, and the Party is subject
27   to an agreement with the Non-Party not to produce the Non-Party’s confidential
28   information, then the Party shall, before producing:
                                                  16
                              STIPULATED PROTECTIVE ORDER
 1                       (1) promptly notify in writing the Requesting Party and the Non-
 2   Party that some or all of the information requested is subject to a confidentiality
 3   agreement with a Non-Party (the notice);
 4                       (2) promptly provide the Non-Party with a copy of the Protective
 5   Order in this Action, the relevant discovery request(s), and a reasonably specific
 6   description of the information requested; and
 7                       (3) make the information requested available for inspection by the
 8   Non-Party, if requested.
 9                (c) If a Non-Party represented by counsel fails to commence the process
10   called for by Local Rules 45-1 and 37-1, et seq. within fifteen (15) court days of
11   receiving the notice and accompanying information or fails contemporaneously to notify
12   the Receiving Party that it has done so, the Receiving Party may produce the Non-
13   Party’s confidential information responsive to the discovery request. If an unrepresented
14   Non-Party fails to seek a protective order from this Court within fifteen (15) court days
15   of receiving the notice and accompanying information, the Receiving Party may produce
16   the Non-Party’s confidential information responsive to the discovery request. If the Non-
17   Party timely seeks a protective order, the Receiving Party shall not produce any
18   information in its possession or control that is subject to the confidentiality agreement
19   with the Non-Party before a determination by the Court unless otherwise required by the
20   law or court order. Absent a Court order to the contrary, the Non-Party shall bear the
21   burden and expense of seeking protection in this Court of its Protected Material.
22   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
23         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
24   Protected Material to any person or in any circumstance not authorized under this
25   Protective Order, the Receiving Party must immediately (a) notify in writing the
26   Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve all
27   unauthorized copies of the Protected Material, (c) inform the person or persons to whom
28   unauthorized disclosures were made of all the terms of this Protective Order, and
                                                17
                             STIPULATED PROTECTIVE ORDER
 1   (d) request such person or persons to execute the “Acknowledgment and Agreement to
 2   Be Bound” that is attached hereto as Attachment A.
 3   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 4         PROTECTED MATERIAL
 5         Pursuant to Federal Rule of Evidence 502(d), if in connection with the litigation,
 6   documents or information subject to a claim of attorney-client privilege, work product
 7   protection and/or any other privilege or protection from disclosure are inadvertently
 8   disclosed (“Disclosed Information”) by the Producing Party, the disclosure of such
 9   Disclosed Information shall not constitute or be deemed a waiver of any claim of
10   attorney-client privilege, work product protection or any other privilege or protection
11   that the Disclosing Party would otherwise be entitled to assert with respect to the
12   Disclosed Information and its subject matter, provided the Producing Party abides by the
13   procedures set forth in this Order.
14         If the Producing Party discovers that it inadvertently produced privileged or
15   otherwise protected material, it shall promptly notify the Receiving Party in writing of
16   any claim of privilege or protection with respect to Disclosed Information upon
17   discovering the inadvertent disclosure, but no later than ten (10) court days after
18   discovering the production of the privileged or otherwise protected material. The notice
19   shall contain information sufficient to: (1) identify the document, by Bates number (if
20   applicable) or by identifying information as necessary to locate the document within the
21   materials produced; (2) identify the privilege or protection alleged; and (3) explain the
22   basis for the invocation of the privilege or protection. If the Receiving Party discovers
23   the inadvertent disclosure, it agrees to immediately refrain from examining the material
24   and promptly notify the Producing Party.
25         Promptly upon notification, and in no event no later than ten(10) court days after
26   receiving notice, the Receiving Party shall return and/or destroy all copies of the
27   Disclosed Information identified in the notice, and shall certify in writing that it has done
28   so. The obligation to return or destroy copies of the Disclosed Information identified in
                                                 18
                               STIPULATED PROTECTIVE ORDER
 1   the notice does not apply to such copies in disaster recovery systems maintained by the
 2   parties; however, if such disaster recovery systems are accessed or restored, then any
 3   copies of the Disclosed Information identified in the notice that are in those systems
 4   shall be returned or destroyed forthwith upon access or restoration and the Receiving
 5   Party shall certify in writing that it has done so. In returning and/or destroying any
 6   copies of the Disclosed Information identified in the notice, the Receiving Party shall not
 7   waive or prejudice any challenge it may have to the alleged privileged status of the
 8   Disclosed Information. If, after undertaking an appropriate meet-and-confer process, the
 9   Parties are unable to resolve any dispute they have concerning the Disclosed
10   Information, the Receiving Party may file an appropriate motion to seek to compel
11   production of such material.
12   12.   MISCELLANEOUS
13   12.1 Right to Further Relief:
14         Nothing in this Protective Order abridges the right of any person to seek its
15   modification by the Court in the future.
16   12.2 Right to Assert Other Objections:
17         No Party waives any right it otherwise would have to object to disclosing or
18   producing any information or item on any ground not addressed in this Protective Order.
19   Similarly, no Party waives any right to object on any ground to use in evidence any of
20   the material covered by this Protective Order.
21   12.3 Filing Protected Material:
22         If any papers to be filed with the Court or Magistrate Judge contain or attach
23   information and/or documents that have been designated as “CONFIDENTIAL,” the
24   filing Party and the Party who designated the materials at issue as “CONFIDENTIAL”
25   shall first meet and confer regarding whether the need for filing under seal can be
26   eliminated or minimized by means of redaction pursuant to Central District of California
27   Local Rule 79-5. Where not reasonably possible, any Party wishing to file a document or
28   paper containing “CONFIDENTIAL” material may request that material be filed under
                                         19
                           STIPULATED PROTECTIVE ORDER
 1   seal by motion to Judge Gutierrez (with respect to non-discovery matters) or to
 2   Magistrate Judge Chooljian (with respect to discovery matters), consistent with Local
 3   Rule 79-5 of the of the United States District Court for the Central District of California,
 4   and shall seek to file under seal only those portions of documents containing
 5   “CONFIDENTIAL” material. A designation as “CONFIDENTIAL” by the parties under
 6   this Order alone is not a sufficient basis to seal the information submitted in connection
 7   with a request for relief from the Court. For motions, the parties shall publicly file a
 8   redacted version of the motion and supporting papers. If a Party's request to file
 9   Protected Material under seal is denied by the Court, then the Receiving Party may file
10   the information in the public record unless otherwise instructed by the Court.
11   13.   FINAL DISPOSITION
12         After the final disposition of this Action, as defined in Section 4, within ninety
13   (90) days of a written request by the Designating Party, each Receiving Party must return
14   all Protected Material to the Producing Party or destroy such material. As used in this
15   subdivision, “all Protected Material” includes all copies, abstracts, compilations,
16   summaries, and any other format reproducing or capturing any of the Protected Material.
17   Whether the Protected Material is returned or destroyed, the Receiving Party must
18   submit a written certification to the Producing Party (and, if not the same person or
19   entity, to the Designating Party) by the ninety (90) day deadline that (1) identifies (by
20   category, where appropriate) all the Protected Material that was returned or destroyed
21   and (2) affirms that the Receiving Party has not retained any copies, abstracts,
22   compilations, summaries or any other format reproducing or capturing any of the
23   Protected Material. Notwithstanding this provision, the United States is entitled to
24   maintain archival material as needed for its official file and Counsel are entitled to retain
25   an archival copy of all pleadings, motion papers, trial, deposition, and hearing
26   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
27   reports, attorney work product, and consultant and expert work product, even if such
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                                           20
                              STIPULATED PROTECTIVE ORDER
 1   materials contain Protected Material. Any such archival copies that contain or constitute
 2   Protected Material remain subject to this Protective Order as set forth in Section 4.
 3   14.   REMEDIES FOR VIOLATION
 4         Any violation of this Protective Order may be punished by any and all appropriate
 5   measures including, without limitation, contempt proceedings and/or monetary
 6   sanctions.
 7   15.   MISCELLANEOUS
 8         A.     Right to Further Relief. Nothing in this Stipulated Protective Order abridges
 9   the right of any person to seek its modification by the Court or Magistrate Judge in the
10   future.
11         B.     Admissions and Waivers. Neither the entry of this Stipulated Protective
12   Order, nor the designation of any information or documents as “CONFIDENTIAL” or
13   failure to make such a designation, nor any in camera disclosure of CONFIDENTIAL
14   information, shall constitute evidence or any admission with respect to any issue in the
15   case, and shall not constitute a waiver of any objections to the disclosure of such
16   information, provided the parties abide by the procedures set forth in this Order. Nothing
17   in this Stipulated Protective Order shall be construed as waiving any objections of any
18   Party as to the admissibility of a particular document into evidence. Moreover, nothing
19   in this Stipulated Protective Order shall be construed to require any Party to disclose to
20   any other Party any CONFIDENTIAL information, or to prohibit any Party from
21   refusing to disclose CONFIDENTIAL information to any other Party. If at any time
22   before trial of this action a Producing Party realizes that it should have designated as
23   CONFIDENTIAL or any discovery materials previously produced, the producing party
24   may designate the material by so appraising all prior recipients in writing. Thereafter, all
25   persons subject to this Order shall treat such designated material as CONFIDENTIAL.
26         C.     Right to Assert Other Objections. By stipulating to the entry of this
27   Stipulated Protective Order, no Party waives any right it otherwise would have to object
28   ///
                                           21
                              STIPULATED PROTECTIVE ORDER
 1   to disclosing or producing any information or item on any ground not addressed in this
 2   Stipulated Protective Order.
 3
 4   Dated:   October 19, 2020               JEFFREY BOSSERT CLARK
                                             Acting Assistant Attorney General
 5                                           NICOLA T. HANNA
                                             United States Attorney
 6                                           DAVID K. BARRETT, AUSA
                                             Chief, Civil Fraud Section
 7                                           LISA A. PALOMBO, AUSA
 8
 9                                           By: /s/ Ross M. Cuff
                                                ROSS M. CUFF
10                                              Assistant United States Attorney
11                                           JAMIE ANN YAVELBERG
                                             SARA MCLEAN
12                                           WILLIAM C. EDGAR
                                             ERIC SCHMELZER
13                                           Attorneys, Civil Division
                                             United States Department of Justice
14
                                                 Attorneys for Plaintiff
15                                               UNITED STATES OF AMERICA
16   Dated:   October 19, 2020               WARREN - BENSON LAW GROUP
17
18                                           By: /s/ Donald R. Warren
                                                Donald R. Warren
19                                              Phillip E. Benson
                                                Attorneys for Qui Tam Plaintiff
20                                              FAIR HOUSING COUNCIL OF SAN
                                                FERNANDO VALLEY
21
22   Dated:   October 19, 2020               DAVID IYALOMHE AND ASSOCIATES

23
24                                           By: /s/ David O. Iyalomhe
                                                David O. Iyalomhe
25                                              Attorneys for Qui Tam Plaintiff
                                                FAIR HOUSING COUNCIL OF SAN
26                                              FERNANDO VALLEY

27
28
                                          22
                             STIPULATED PROTECTIVE ORDER
 1   Dated:   October 19, 2020        LAW OFFICES OF ODION L OKOJIE
 2
 3                                    By: /s/ Odion L. Okoije
                                         Odion L. Okojie
 4                                       Attorneys for Qui Tam Plaintiff
                                         FAIR HOUSING COUNCIL OF SAN
 5                                       FERNANDO VALLEY
 6   Dated:   October 19, 2020        OFFICE OF LOS ANGELES CITY
                                      ATTORNEY
 7
 8
                                      By: /s/ Michael N. Feuer
 9                                       Michael N. Feuer
                                         James P. Clark
10                                       Attorneys for Defendant
                                         CITY OF LOS ANGELES
11
     Dated:   October 19, 2020        HOGAN LOVELLS US LLP
12
13
                                      By: /s/ Michael M. Maddigan
14                                       Michael M. Maddigan
                                         Poopak Nourafchan
15                                       David W. Skaar
                                         Alyssa Saviss
16                                       Attorneys for Defendant
                                         CITY OF LOS ANGELES
17
18
19
          IT IS SO ORDERED AS MODIFIED.
20
21
     Dated: October 20, 2020          ______________/s/_____________________
22
                                      Honorable Jacqueline Chooljian
23
                                      UNITED STATES MAGISTRATE JUDGE
24
25
26
27
28
                                        23
                           STIPULATED PROTECTIVE ORDER
 1                         ATTACHMENT A
               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 2
 3   I, _____________________________ [print or type full name], of
 4   _________________ [print or type full address], declare under penalty of perjury
 5   that I have read in its entirety and understand the Protective Order that was issued
 6   by the United States District Court for the Central District of California on October
 7   20, 2020 in United States ex rel. Ling, et al. v. City of Los Angeles, et al., No. 2:11-
 8   cv-00974-PSG-JCx. I agree to comply with and to be bound by all the terms of this
 9   Protective Order and I understand and acknowledge that failure to so comply could
10   expose me to sanctions and punishment in the nature of contempt of court. I
11   solemnly promise that I will not disclose in any manner any information or item that
12   is subject to this Protective Order to any person or entity except in strict compliance
13   with the provisions of this Order.
14         I further agree to submit to the jurisdiction of the United States District Court
15   for the Central District of California for the purpose of enforcing the terms of this
16   Protective Order, even if such enforcement proceedings occur after termination of
17   this action. I hereby appoint __________________________ [print or type full
18   name] of _______________________________________ [print or type full address
19   and telephone number] as my California agent for service of process in connection
20   with this action or any proceedings related to enforcement of this Protective Order.
21   Date: ______________________________________
22   City and State where sworn and signed: _________________________________
23
24   Printed name: _______________________________
25
26   Signature: __________________________________
27
28
                           ATTACHMENT A
               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
